 1   IN THE UNITED STATES DISTRICT COURT
     FOR THE MIDDLE DISTRICT OF FLORIDA
 2   ORLANDO DIVISION
     CASE NO.: 6:21-CV-00808-WWB-EJK
 3
     PAMELA R. MATHEWS,
 4   PLAINTIFF,

 5   VS.

 6   BRYAN A. COLE,
     DEFENDANT.
 7   ________________________________________/
     VIDEOTAPED DEPOSITION OF DAVID S. KLEIN, MD
 8   DATE:           JULY 22, 2022
     REPORTER:       ALLISON KENNY
 9   PLACE:          GREENBERG TRAURIG, PA
                     450 SOUTH ORANGE AVENUE
10                   SUITE 650
                     ORLANDO, FLORIDA 32801
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                          EXHIBIT "B"
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 1      Q      Okay.   Based on my review of all the records

 2 we subpoenaed from your office, it's my impression that

 3 you, Ms. Ali, and Ms. Derisbraun were the only people

 4 who saw Ms. Mathews.

 5      A      That would be accurate.

 6      Q      Okay.   Prior to Ms. Mathews becoming your

 7 patient on March 29, 2021.       Did you have any prior

 8 awareness of her?

 9      A      The only awareness I would've had, would've

10 been her referring physician or referring psychologist

11 asking permission to send her because it was sort of an

12 odd problem.    And so she asked me whether I'd be willing

13 to do it.     And I said, okay, I'm willing to help out as

14 best I can.

15      Q      And who referred her to you?

16      A      That'd be Dr. Furbringer.

17      Q      Furbringer?

18      A      Yeah.   She's a psychologist.        And I've known

19 her for many years.       So she had this patient that needed

20 medications refilled, things that had to be refilled.

21 Her physician retired and was -- this was the middle of

22 COVID.   So there weren't that many choices.          And so it

23 was like, you know, this is not my wheelhouse.           I do

24 things, as necessary.       I've prescribed these medications

25 many, many times.     This was not a great imposition, but
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 1 she's out of town.       I didn't expect to see her for --

 2 until she could find another physician.

 3         Q    Okay.    Is it fair to say then that you were

 4 acting as kind of a stop gap?

 5         A    That's exactly the word I would use.

 6         Q    Okay.    And I'm not trying to be pejorative or

 7 anything, but you were the successor to Dr. Hudson, and

 8 you were seeing Ms. Mathews until she found somebody

 9 else?

10         A    Yes.    That's not pejorative.         That's -- that's

11 accurate description.        Dr. Hudson was a fine physician,

12 you know, and he just had enough for -- I don't know the

13 details of why he left actually.

14         Q    Okay.

15         A    But yeah, he left a -- I received a lot of his

16 patients as primary care actually, when he left.

17         Q    But other than the referral from Dr.

18 Furbringer, did you have any personal knowledge of Pam

19 Mathews prior to her becoming your patient?

20         A    No, sir.

21         Q    You didn't know her socially or

22 professionally, or any other way?           Do you have any

23 knowledge of gentleman named Bryan Cole, who's my

24 client?

25         A    No.
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 1         Q    Let's go to these records, which are Exhibit

 2 C.   And let me ask you to turn to --

 3         A    Do you want me -- do I put these away no?

 4         Q    No, we're going to keep going through this --

 5 these documents, but we're going to go through different

 6 pages of them.       I'm going to ask you to turn to page 5

 7 of the records.

 8         A    Yes, sir.

 9         Q    And in the upper left-hand corner of this, it

10 says, "Health History."         Do you see that?

11         A    Yes, sir.

12         Q    And then I see some information that's

13 inserted here in handwriting.          Is that your handwriting?

14         A    My handwriting is not even close to being that

15 neat.

16         Q    Okay.    Do you know whose handwriting this is?

17         A    These are generally filled out by the patient,

18 but they're filled out often before they show up.          So

19 that's a -- my assumption.

20         Q    Okay.    You'll notice in the right-hand corner

21 of this page, it's dated March 29, 2021.

22         A    Yes, sir.

23         Q    And then Pamela Santini's name appears on it?

24         A    Yes.

25         Q    And on the third line down, it says, "What is
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 1 your reason for visit?"      And I'm reading, "Complex PTSD.

 2 ADHD, and Stockholm Syndrome."

 3      A    Yes, sir.

 4      Q    Do you see that?

 5      A    Absolutely.

 6      Q    So does that mean that when Ms. Santini

 7 presented herself in your office, she announced to you

 8 that's why she was seeing you?

 9      A    Yes.     They -- they're -- these are done in two

10 different hand writings.      The top one would've been my

11 secretary at the time, was Iris, I recognize her

12 handwriting.     So what she -- what more than likely would

13 happen here was that she filled out the top with the

14 date and then handed this to the patient to fill out on

15 a clipboard.

16      Q    Okay.

17      A    So basically this is a form that we've seen in

18 my practice about 40,000 times.

19      Q    Okay.     At the bottom of the page, there's a

20 reference to medications out.

21      A    Yes, sir.

22      Q    You certainly wouldn't have had any idea what

23 medications she was on.

24      A    Not at that time.      No.

25      Q    Right.     Okay.   Did you ever administer any
               222955 David S. Klein, M.D. 7-22-2022         Page 21


 1 would've gone through it first.          But on the initial

 2 evaluation, it's basically me.          So on the first

 3 evaluation, you'll see my name alone.

 4         Q    Understand.     But in terms of what may have

 5 caused the onset of complex PTSD, did you undertake any

 6 analysis to determine what would've actually triggered

 7 that?

 8         A    All I have is a history.        Okay.     So I did take

 9 a fairly comprehensive history of it, and she attributed

10 this to an abusive relationship.           I didn't get into the

11 specifics of how -- you know, what the abuse was.              I was

12 hoping to get that actually as a report from Dr.

13 Furbringer, but she didn't feel comfortable sharing the

14 data with me.      And I understand that entirely because

15 I've known her for 20 years and this is just kind of the

16 way she is.      It didn't seem outrageous.          And it didn't

17 seem unusual.      The medications were being used

18 appropriately.        The dosage -- dosages were correct.           So

19 my job basically was to keep her medications current. It

20 takes a license to do that, and I did.

21         Q    Right.    But in terms of you independently,

22 professionally determining what may have caused her

23 alleged complex PTSD, did you ever do that?

24         A    I did not establish causality between her

25 current psychiatric or psychological problem and any
                222955 David S. Klein, M.D. 7-22-2022          Page 22


 1 particular trauma or traumatic event.                So if that

 2 answers the question.

 3         Q      It does.    You were relying on what she told

 4 you.

 5         A      I was -- I relied on what she told me and what

 6 Dr. Furbringer said, when she said, "Hey, would you mind

 7 seeing this lady with?" And I said, "Okay, I'll be happy

 8 to do what I can."

 9         Q      And that was the extent of what you knew about

10 her history?

11         A      That's still the extent of what I know about

12 her history.

13         Q      Likewise, did you undertake any professional

14 investigation of what may have caused her alleged ADHD?

15         A      It's almost impossible.       Okay.      To find a

16 cause for ADD, ADHD, or any of the other eponyms and

17 acronyms for, you know, these sorts of disorders.                   You

18 know, either you have these problems, or you don't have

19 them.       They either manifest, or they don't manifest.

20 Either they respond to therapy, or they do not respond

21 to therapy.       And that's all you have, but there's not

22 necessarily a precipitating cause for ADD or ADHD.                    Kids

23 get it, or they don't get it, adults get it, or they

24 don't get it.       It's an imbalance of a neurotransmitter

25 called dopamine.          And the way we treated her was that
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 1 all over the world for diagnostics.          So I picked up a

 2 brain tumor last week.       Okay.     And a kid, a 16-year-old

 3 kid with a prolactinoma, pituitary tumor.           He was -- he

 4 came in with behavioral issues.          And so what I did --

 5 okay, well, let's find out what the command and control

 6 looks like.       And it turns out that he had the prolactin

 7 of a lactating female.       And so you know, so he's going

 8 to go for surgery.       I picked up a gastric cancer in a

 9 guy this past week, unfortunately.          Okay.   With -- I was

10 treating his wife.       She did real well.      He comes in, he

11 ends up with, instead of reflux esophagitis, he ends up

12 with an adenal carcinoma in the stomach.            So my job is

13 principally that of diagnostician.

14      Q      Right.

15      A      And you know.

16      Q      Let me --

17      A      Sounds boring, but it's actually pretty cool.

18      Q      No, I understand.        I appreciate that.    Did you

19 ever receive Ms. Santini's full medical history from any

20 other physician?

21      A      No.     I do have some records that I received

22 from the psychologist, and I left them intact because it

23 really -- you know, it's not -- it's just, it's not my

24 business.     Okay.    And so just to be -- being respectful

25 of the individual, I figured if I was called upon to
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 1 tear into them, I would.        Okay.   But it's just the sort

 2 of thing that I don't think is appropriate.         It's like

 3 reading somebody's diary.        I don't have to have that.

 4      Q      You did not receive all of Dr. Hudson's

 5 records?

 6      A      I don't think I received anything from Dr.

 7 Hudson.

 8      Q      Okay.

 9      A      I haven't seen or heard from him since he

10 retired.

11      Q      Okay.    And I -- if I'm understanding you

12 correctly, you received some materials from Dr.

13 Furbringer.

14      A      Yes.    That's -- those are sitting in a box in

15 my car.

16      Q      But if I'm understanding you correctly, you

17 didn't actually look at those materials.

18      A      No, but I was waiting to see whether anybody

19 needed me to refer to anything.         It's like -- but again,

20 it's peering into somebody else's private life.         It's

21 not -- it wouldn't be necessary for me to do this.

22 Anything I would read there would be hearsay anyway.

23      Q      I understand.      I guess my point is this,

24 throughout your treatment of Ms. Santini --

25      A      Yes, sir.
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 1      Q      All right.     At the very bottom of 37, there's

 2 a little paragraph narrative.         It says, "Patient lost

 3 her PCP last May due to COVID-19.          PCP retired.      Was

 4 seen temporarily by a NP but needs to establish care.

 5 Was referred here by a friend.         Her condition is stable

 6 with her current medication regimen.          Suffers from PTSD

 7 due to a former abusive relationship.              Patient reports a

 8 suicide attempt in 2017.        She took 40 Trazodone tablets

 9 at once.    No suicidal inclinations since then.            Prefers

10 to stay on least amount of meds as possible.              Patient is

11 going for counseling and PRN."

12      A      Yes.

13      Q      Those are all things she told you?

14      A      That was -- that was my interpretation of what

15 she said, yes.

16      Q      Okay.    And again, when she told you that she

17 suffered from PTSD due to a former abusive relationship,

18 you don't know what relationship that was?

19      A      No.     That was -- that was pretty much the way

20 it was -- that it was told to me.

21      Q      That's fine.     Let's go to page 38 then.

22      A      Sure.

23      Q      There's a reference to abuse/diversion risk

24 assessment?

25      A      Yes.
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 1      Q     Dr. Klein, let me ask you this.        If you were

 2 subpoenaed to appear at the trial of this case, would

 3 you provide any testimony regarding Bryan Cole causing

 4 any purported condition in Ms. Santini?

 5      A     I would have no basis to make any testimonial

 6 remarks about his relationship -- his presence or

 7 anything more.    I've never met the man.

 8      Q     And did you see anything in the records that

 9 even mentioned his name?

10      A     No.

11           MR. SPIVEY:     That's all I have.

12                  CROSS EXAMINATION

13            BY MR. BYERS:

14      Q     Just got a couple of quick follow ups --

15      A     Yes, sir.

16      Q     -- Doctor Klein.      Knowing or not knowing --

17 let me take that back.      Would it be important to you,

18 for any reason, to know my client's marital history?

19      A     Your client is Mr. Cole?

20      Q     No, my client's Pam.

21      A     Oh, I get confused.       I'm sorry.   Yeah, it's

22 hard --

23      Q     I'm sorry.

24      A     Well, yeah, it's hard to know the players

25 without a program.      Okay.   So -- so would it be
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 1 she is a let's just say a chronic drug seeker.               I think

 2 she -- I think she needs her Adderall.               I think she

 3 probably needs some Xanax, but I don't think she has the

 4 -- she doesn't have the stability to know where to keep

 5 it.     That doesn't make her drug seeker.            That simply

 6 means that she has a mental illness.            And that's -- we

 7 deal with it all the time.

 8         Q      Now you had said that you spoke to Dr.

 9 Furbringer about Pam Mathews --

10         A      Yes.

11         Q      -- correct?    Okay.    And what did Dr.

12 Furbringer tell you about Pam Mathew's condition or

13 conditions?

14         A      She -- she told me that -- she told me the

15 nature of the medications that she was on.               She told me

16 that there was an abusive relationship, no particulars

17 on it.       She did not want to give me access to her

18 written records because that's -- I've known -- I've

19 known her a long time and, you know, and I respect her.

20 And -- and in fact, when I've sent many patients to her

21 over the years, and she never sends me any of their

22 records.       So I've -- I've learned how to work without

23 them.       You know, if I trust somebody well enough to --

24 to do this kind of work, I don't necessarily need to

25 seek to -- to check their work like they were in school.
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 1 But no, I don't -- all I really knew from her was that

 2 she needed help with the medications, and I was -- and I

 3 agreed to do it.

 4      Q      Okay.   Just -- if it makes you feel better,

 5 you're not the only one that Dr. Furbringer does not

 6 want to give records.

 7      A      Oh, I know.   Well, you know -- and I respect

 8 the heck out of her.      She is -- she's -- she's a

 9 remarkable gal or woman, I guess I should say.            I -- I

10 may get pilloried.     She does a brilliant job, but she's

11 paranoid about what she's supposed to do and not do with

12 regards to her records.      And so she's got -- I don't

13 know in her past whether she ever got in -- got

14 reprimanded, but somewhere along the line, she's scared

15 to death.    And so -- and that's -- and you know

16 something, that's -- that's part of her charm, you know?

17 You know.

18      Q      So -- so when Dr. Furbringer refers a patient

19 to you --

20      A      Yes.

21      Q      -- and tells you that they're on particular

22 medications for, in this case, PTSD, you just take that

23 at face value?

24      A      I'll take it at face value.          If she -- if she

25 -- if -- if that's her working diagnosis and I have
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 1 nothing else with which to work, I will deal with that.

 2 But I'm not -- I'm not being called in to give an

 3 objective second opinion.          I'm -- I'm really -- you

 4 know, if that were the case, I would be a bad choice of

 5 -- of a person.          The real problem right now is you can't

 6 find -- you can't find a psychiatrist let alone find a

 7 good one.       And so I do a lot of psychiatric work in my

 8 practice.       I've got one of the biggest bipolar patient

 9 populations in the state of Florida because nobody wants

10 to see these folks.          And so you know, I'll -- I'll trade

11 them.       I do what I have to do, but I'm not a

12 psychiatrist.       And I did not stay in a Holiday Inn

13 Express last night, but I will do what I can do.

14         Q      So you would not, during the course of a

15 treatment, make a determination if you didn't see signs

16 of what Dr. Furbringer told you was an underlying

17 condition?

18         A      Okay --

19               MR. SPIVEY:     Objection to form.

20               THE WITNESS:     I'm sorry?

21               MR. SPIVEY:     You can answer.

22               THE WITNESS:     I can answer.    Okay.   I question

23     everything, okay?          That's my nature.     And so one of

24     the things that I did was I started her on a

25     medication called Prazosin and another one called
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 1     Orphenadrine, which are useful.        And you'll --

 2     you'll say, "Well, gee, Prazosin is for blood

 3     pressure and the Orphenadrine's muscle relaxant."

 4     But they're used to treat PTSD, right? How would I

 5     know that?   Because that's a military treatment.

 6     That's how it's done.      And so I -- I went ahead and

 7     started her on it, but I didn't have ample time to -

 8     - to get follow up with her.        So if this were a PTSD

 9     kind of a situation, you would've -- you would --

10     you would have seen clinical improvement.        I did not

11     have -- have that opportunity.        The second thing was

12     when I got her blood work back, she was menopausal.

13     And one thing about menopausal women is that they're

14     -- they're not always unbalanced, let's say.           So I

15     wanted to -- to treat her for this to see whether

16     that contributed to her -- her anxiety/other issues.

17     Because I -- I'm a physician first, a prescriber for

18     other people's medications only secondary or in a

19     tertiary manner.

20           BY MR. BYERS:

21      Q    And looking at the -- looking at the -- the

22 prescription records --

23      A    Yes, sir.

24      Q    -- for Pam Mathews, you didn't see anything in

25 those records that alerted you to any concerns about the
                222955 David S. Klein, M.D. 7-22-2022      Page 80


 1 amount and how often she was filling the prescriptions?

 2         A      No, it was all -- it was all exactly on

 3 schedule.       The only concern that we had was when she

 4 wanted to go up to what I would consider to be an

 5 inappropriately high dosage, and rapidly at that.

 6         Q      Have you ever prescribed dosages that high or

 7 higher?

 8         A      Oh yes.   Oh, absolutely.      Yeah.

 9         Q      What is the -- what is the range of dosage you

10 use today?

11         A      There's a -- there's an interesting question.

12 Okay?       Because it depends on -- it depends on what

13 you're trying to treat.          If you're trying to treat stage

14 anxiety, the dosage may be a half a milligram under the

15 tongue once.       If you're dealing with somebody that --

16 that has a flight anxiety -- these are the sorts of

17 things I treat on a daily basis.            The dosage may be a

18 half a milligram twice daily.           If you've got somebody

19 that has agoraphobia and yet they have to work out in

20 public, they may be taking a half a milligram three to

21 four times a day.        So it really depends on the

22 individual.       Then you've got some -- some people they

23 come in and I get them from another doctor's office that

24 may have closed down, sometimes properly so, and their

25 dosage may be as high as two milligrams three to four
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 1 times a day.    So it could be six to eight milligrams.

 2 Way too high for any -- for anybody as far as I'm

 3 concerned, but that doesn't mean that I won't continue

 4 it so that I can taper it downward.        So we bring people

 5 down a half a milligram per day per two-to-three-week

 6 interval.    It's like landing an airplane.      You know, all

 7 -- all airplanes will land.      Okay?    The question is

 8 whether you land safely or not.

 9      Q      So would you say that your concern with Pam's

10 request to be increased at four milligrams is based on

11 her dosage or the speed with which it would increase her

12 -- her daily dosage?

13      A      Both.

14      Q      Okay.

15      A      Okay?   And -- and the -- and the fact that she

16 -- from all -- from our perspective and not having been

17 able to see her, okay, it looked like she was spinning

18 out of control.     I can't say that with -- with a high

19 degree of medical certainty, but I can say is that it

20 would have been unsafe for me to have agreed to it under

21 any circumstance.    So you know, when you're blinded to

22 the way somebody's presenting, it's best to back away,

23 and that's what we did.      And so -- and then she -- she

24 chose to find her medication or her treatment elsewhere,

25 which was something we'd anticipated all along anyway.
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 1 So I didn't think too much of it.

 2             MR. BYERS:     Okay.   All right.       Well, thank you,

 3        Doctor.   I don't have anything further.

 4                    REDIRECT EXAMINATION

 5              BY MR. SPIVEY:

 6         Q    Dr. Klein, let me re-inquire.           Did you -- you

 7 said a couple of things that caught my ear.

 8         A    About what?     I'm sorry.     About what?

 9         Q    You said a couple of things that caught my

10 ear.

11         A    Oh, caught your ear.       I'm sorry.

12         Q    Yeah, apology.

13         A    That wasn't -- yeah.       I'm --

14         Q    You said that you prescribed for Ms. Santini

15 two medications that you would've expected to yield

16 positive results in a PTSD condition.

17         A    In that environment, it usually changes the

18 way the PTSD presents because it takes care of the

19 nightmares, which tend to really promote PTSD.              One

20 hallmark of PTSD is nightmares.

21         Q    Right.

22         A    No nightmares, no PTSD.        So -- and you can

23 block that with two alpha block -- alpha-2 blockers, the

24 Prazosin and the Orphenadrine.          Either one alone is

25 generally good enough to do it, but I hit her with both
              222955 David S. Klein, M.D. 7-22-2022     Page 83


 1 because I wanted to see it happen quickly.

 2      Q       And that's where I wanted to drill into.          What

 3 are the names of those medicines?

 4      A       Oh.

 5      Q       And be very slow because I'm an idiot.

 6      A       Well, you know, I don't -- my Latin's a little

 7 rusty.     So -- but P-R-A-Z-O-S-I-N, and Orphenadrine,

 8 which is O-R-P-H-E-N-A-D-R-I-N-E.

 9      Q       And when do you recall prescribing those

10 medications for?

11      A       You know, I think it was -- you know, I don't

12 really remember.        Oh, actually, let's see if I can find

13 it here.     That would've been in April, I believe.

14      Q       April of 2021?

15      A       No.     Or -- no.   Hundred -- no, it was in July.

16 Pardon me.

17      Q       July of 2021?

18      A       Yes.

19      Q       I'm looking at Bates number 68.

20      A       68?

21      Q       Yeah, 68.

22      A       Okay.

23      Q       Which is April 26, 2021.

24      A       Yeah.     See, what happens is you can write

25 prescriptions, doesn't mean they fill them.         And that's
               222955 David S. Klein, M.D. 7-22-2022          Page 84


 1 their analyzer problem.         So when they come in and they

 2 tell us what they're on or what they need, and if it's

 3 not listed, you have to assume they didn't get it.

 4         Q    Okay.

 5         A    All right.     So there's a -- there's a

 6 tremendous amount of -- of fog to this.               The patients

 7 are supposed to bring their bottles each and every visit

 8 so that it clears that fog.         The minority of patients

 9 actually do.

10         Q    Page 68 -- Bates number 68.            I see this

11 Orphenadrine.

12         A    Yes.

13         Q    Do you see that?

14         A    Uh-huh.

15         Q    Does that mean you would've prescribed it

16 then?

17         A    It was written that day, but --

18         Q    But you don't know when or whether she filled

19 it?

20         A    I would have no, you know, no idea.            Except

21 that when people come in to ask for refills on stuff,

22 that's generally when you pick it up.               And the Prazosin

23 was done later.

24         Q    You're saying the Prazosin was --

25         A    Yeah.
